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          IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                  8:03CR290
                              )
          v.                  )
                              )
STERLING MCKOY,               )             ORDER AND JUDGMENT
                              )
                Defendant.    )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED:

           1) Defendant’s motions to amend (Filing Nos. 331, 335

and 345) are granted.

           2) Defendant’s motions for new trial (Filing Nos. 330,

343 and 344, as amended) are denied.

           3) Defendant’s motions to vacate, set aside or correct

sentence (Filing Nos. 334 and 346) are denied.

           4) Defendant’s amended motion for appointment of

counsel (Filing No. 337) is denied.

           5) Defendant’s motion for leave to proceed in forma

pauperis (Filing No. 338) is denied.

           DATED this 8th day of August, 2007.

                             BY THE COURT:

                             /s/ Lyle E. Strom
                             _________________________________
                             LYLE E. STROM, Senior Judge
                             United States District Court
